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                          IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION
__________________________________________
                                               )
J.O.P., et al.,                                )
                                               )
                 Plaintiffs,                   )
                                               )
        v.                                     ) Case No. 8:19-cv-01944-SAG
                                               )
U.S. DEPARTMENT OF HOMELAND                    )
SECURITY, et al.                               )
                                               )
                 Defendants.                   )
__________________________________________)

                JOINT MOTION FOR ENTRY OF A CLAWBACK AGREEMENT
                                AND ESI PROTOCOL
       Pursuant to this Court’s June 5, 2025 Order (ECF No. 293), the Parties respectfully request

that the Court enter the Stipulated Clawback Agreement and Federal Rule of Evidence 502(d)

Order, attached hereto as Exhibit 1, and Stipulated ESI Discovery Protocol, attached hereto as

Exhibit 2, as agreed upon between the Parties in their entirety.

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Dated: June 12, 2025               Respectfully submitted,

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